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                                          U.S. Department of Justice

                                          Matthew M. Graves
                                          United States Attorney

                                          District of Columbia


                                          Patrick Henry Building
                                          601 D Street, NW
                                          Washington, D.C. 20530

                                         March 6, 2024

Mark J. Langer, Clerk
United States Court of Appeals
for the District of Columbia Circuit
333 Constitution Avenue, N.W., Room 5423
Washington, D.C. 20001-2866

     Re:   United States v. Couy Griffin, No. 22-3042
           Oral argument held December 4, 2023, before Judges Pillard,
           Katsas, and Rogers

Dear Mr. Langer:

      Pursuant to Federal Rule of Appellate Procedure 28(j), the
government submits the attached transcript of an oral ruling made by
the Honorable Tanya S. Chutkan on March 5, 2024, in United States v.
Nester, No. 22-183, which is relevant to the argument made at pages 40
to 50 of the government’s brief.

      In her ruling, Judge Chutkan concluded that the “knowingly” mens
rea in 18 U.S.C. § 1752(a)(1) does not require knowledge of a Secret
Service protectee’s presence within the restricted area because (1) a
protectee’s presence and other elements set forth in § 1752(c)(1)(A)-(C)
are “exclusively jurisdictional requirements” (3/5/24 Transcript (Tr.) 5),
and, even if not, (2) Congress did not intend such knowledge to be
required (id. at 9-10).

      In reaching that result, Judge Chutkan “concur[red] with [the]
findings and reasoning” (3/5/24 Tr. 6) of United States v. Carnell, No. 23-
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139 (BAH), 2024 WL 639842 (D.D.C. Feb. 15, 2024). Judge Chutkan also
agreed with the conclusion in United States v. Groseclose, No. 21-cr-311
(CRC), 2024 WL 68248, at *7 (D.D.C. Jan. 5, 2024), that, when Congress
originally enacted § 1752, “the requirement that a Secret Service
protectee be on the premises would appear to be ‘jurisdictional only[.]’”
(see 3/5/24 Tr. 7). Judge Chutkan, however, disagreed with the conclusion
in Groseclose “that the 2006 amendments to Section 1752 converted the
jurisdictional requirements of the statute’s earlier version into
substantive requirements” (3/5/24 Tr. 8). Applying Feola v. United States,
420 U.S. 671 (1975), Judge Chutkan reasoned, like Judge Howell in
Carnell, that “Feola did not consider the statutory penalty structure
when determining that Section 111’s federal officer element was
jurisdictional” (id.). Judge Chutkan determined “that the increased
penalties” were not “indicative of congressional intent” to reconceptualize
the statute (id. at 8-9).

                                  Respectfully submitted,

                                  MATTHEW M. GRAVES
                                  United States Attorney

                                  CHRISELLEN R. KOLB
                                  Assistant United States Attorneys

                                         /s/
                                  DANIEL J. LENERZ
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                                  601 D Street, NW
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cc:   Lisa B. Wright, Esq.
      Assistant Federal Public Defender
      625 Indiana Avenue NW, Suite 550
      Washington, D.C. 20004
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                     ATTACHMENT
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 1                       UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2
       UNITED STATES OF AMERICA,
 3                                            Criminal Case
                          Plaintiff(s),       No. 22-183-2 TSC
 4              v.
                                              Washington, D.C.
 5     LYNNWOOD NESTER,
                                              March 5, 2024
 6                        Defendant(s).

 7     ----------------------------------------------------------

 8                           EXCERPT OF JURY TRIAL
                     BEFORE THE HONORABLE TANYA S. CHUTKAN
 9                       UNITED STATES DISTRICT JUDGE

10     APPEARANCES:

11     FOR THE PLAINTIFF(S):      Brian Morgan, Esquire
                                  Katherine E. Boyles, Esquire
12                                United States Attorney's Office
                                  District of Columbia
13                                601 D Street Northwest
                                  Washington, DC 20004
14

15
       FOR THE DEFENDANT(S):      Jonathan W. Crisp, Esquire
16                                Crisp and Associates, LLC
                                  4031 North Front Street
17                                Harrisburg, Pennsylvania 17110

18

19

20     REPORTED BY:               Tammy Nestor, RMR, CRR
                                  Official Court Reporter
21                                333 Constitution Avenue Northwest
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22                                tammy_nestor@dcd.uscourts.gov

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                                                                           2
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 1     The following proceedings began at 9:43 a.m.:

 2              THE COURTROOM DEPUTY:       Your Honor, we are on the

 3     record for Criminal Case 22-183.         This is defendant 2.

 4     United States of America versus Lynnwood Nester.              Counsel,

 5     please approach and identify yourselves for the record.

 6              MR. MORGAN:     Good morning, Your Honor.          I'm Brian

 7     Morgan for the United States.         I'm joined at counsel table

 8     by Katherine Boyles, AUSA; Ms. Takia Jones, paralegal; and

 9     it Special Agent Melissa Bridges.

10              THE COURT:     Good morning.

11              MR. CRISP:     Good morning, Your Honor.       Jonathan

12     Crisp on behalf of Lynnwood Nester.

13              THE COURT:     Good morning.    And do you want to

14     announce who else is at counsel table, Mr. Crisp?

15              MR. CRISP:     Yes, Your Honor.     I apologize, Your

16     Honor.    Also at counsel table with me is, aside from my

17     client, is Sarah LaMaster, who is a paralegal in my

18     office.

19              THE COURT:     Good morning.

20              Good morning, Mr. Nester.

21              Okay.     Before we get the jury in, just give me one

22     second.

23              So before we begin the government's case, we need

24     to resolve Mr. Nester's motion concerning jury

25     instructions for Counts 1 and 2.         Those counts charge
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 1     Mr. Nester with violating 18 U.S.C., Section 1752(a)(1)

 2     and 1752(a)(2).     The parties submitted briefing regarding

 3     these instructions last week at ECF Nos. 117 and 118.

 4             Now, Section 1752(a)(1) prohibits knowingly

 5     entering or remaining in any restricted building or

 6     grounds without lawful authority to do so.        And Section

 7     1752(a)(2) bars knowingly engaging in disorderly or

 8     disruptive conduct in any restricted building or grounds.

 9             The statute defines restricted building or grounds

10     to mean any posted, cordoned off, or otherwise restricted

11     building or grounds where the president or other person

12     protected by the Secret Service is or will be temporarily

13     visiting.     That's 18 U.S.C., Section 1752(c)(1)(B).

14             It further defines the term other person protected

15     by the Secret Service to mean any person whom the United

16     States Secret Service is authorized to protect under

17     Section 3056 of this title or by presidential memorandum

18     when such person has not declined such protection.          And

19     that's Subsection 1752(c)(2).

20             As a general rule, jury instructions are not

21     considered erroneous if, when viewed as a whole, they

22     fairly represent the applicable legal principles and

23     standards.     That's from United States versus Brown, 954

24     F.3d 794 at 801.

25             So my instructions have to accurately state the
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 1     elements of the alleged crimes and the appropriate legal

 2     standard to be applied, and that's why we are here this

 3     morning before trial begins.

 4             Mr. Nester seeks a jury instruction that Section

 5     1752 requires proof that Mr. Nester knew both that he was

 6     in an area that was posted and cordoned off or otherwise

 7     restricted and that he knew that the president or other

 8     person protected by the Secret Service was or would be

 9     temporarily visiting -- that he knew that the president or

10     some other person protected by the Secret Service would be

11     temporarily visiting the Capitol.

12             The government has asked me to reject that

13     construction and hold that 1752's text, structure, and

14     purpose support the conclusion that Congress intended to

15     require a defendant to know he was entering or remaining

16     in a posted, cordoned off, or otherwise restricted area

17     but not that he also knew why the area was restricted.

18             I am going to deny Mr. Nester's motion and issue a

19     charging instruction that reflects the government's

20     position regarding the elements of Count 1 and 2.

21             I previously addressed this issue in United States

22     versus Vo, which is 21-CR-509.    Like Mr. Nester, Mr. Vo

23     asked for an instruction that the government must prove

24     both that the defendant knew he was in a posted, cordoned

25     off, or otherwise restricted area, and also that he knew
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 1     it was an area of a building or grounds where a person

 2     protected by the Secret Service was or would be

 3     temporarily visiting.

 4             I denied that motion and held that while the

 5     government was required to prove that the vice president

 6     was protected by Secret Service and would be visiting the

 7     Capitol, the government was not required to prove that the

 8     defendant knew the vice president was going to be visiting

 9     because no such element appears in the text of the

10     statute.

11             Since that ruling, a significant split has

12     developed among the judges in this district.        However, I

13     continue to believe -- and I'm sure the Court of Appeals

14     will set us all on the right path eventually as they have

15     been doing.    However, I continue to believe that the

16     mens rea requirement does not apply to Subsection

17     (c)(1)(A) through C1C because those elements including the

18     presence of a Secret Service protectee are exclusively

19     jurisdictional requirements.

20             Congress normally does not intend to extend

21     scienter, however that's pronounced, to an offense's

22     jurisdictional elements.     And I cite in support of that

23     notion Rehaif, R-E-H-A-I-F, versus United States, 139

24     Supreme Court Reporter 2191 at 2195 to 96.

25             As Judge Howell explained in her recent and
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 1     well-reasoned opinion in United States versus Carnell,

 2     No. 23-CR-139 at ECF No. 98, whether the statutes

 3     "knowingly" requirement modifies the statute's

 4     jurisdictional language is a matter of congressional

 5     intent informed by the statute's text, structure, and

 6     purpose.

 7             Because Judge Howell has thoroughly surveyed the

 8     law on this issue and I concur with her findings and

 9     reasoning, I will explain only where I diverge from her

10     reasoning.

11             Beginning with the text, I will say that I agree

12     with Judge Cooper's opinion in United States versus

13     Groseclose, 21-CR-311 at ECF No. 99 that a purely textual

14     reading lends support to Mr. Nester's interpretation that

15     knowingly extends across both Subsections (c)(1) and

16     (c)(1)(A) through (c)(1)(C) which further define

17     restricted area.

18             But the statute's text is only one indicator of

19     Congress's intent.    I am ultimately persuaded that a

20     purely textual reading would undermine Congress's stated

21     purpose to federalize ordinary state law offenses in order

22     to achieve more certainty and uniformity over security

23     measures involving important federal officers and to

24     provide the fullest protection possible for Secret Service

25     protectees.
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 1             Mr. Nester's reading would, thus, violate the

 2      longstanding rule that a statute should not be construed

 3      to produce an absurd result.

 4             Judge Cooper and I agree that focusing only on

 5      Section 1752 as it stood when first enacted as part of the

 6      Omnibus Crime Control Act of 1970, there is no meaningful

 7      daylight between this case and United States versus Feola,

 8      F-E-O-L-A, 420 U.S. 671.

 9             In Feola, the Supreme Court held that a defendant

10      charged under 18 U.S.C., Section 111 need not know that

11      the person he assaulted was a federal officer because that

12      element was jurisdictional only given that the statute

13      largely duplicated state law criminal provisions and was

14      aimed at ensuring a federal forum in which to prosecute

15      those who harmed federal officers.

16             Similarly, in passing the original version of

17      Section 1752, Congress explained that almost everything

18      proscribed is presently outlawed in some form or other at

19      the state or local level and that the new law was designed

20      to provide a uniform minimum of federal jurisdiction for

21      presidential security when the president is on temporary

22      visits.      And that was in the Senate reports 91-1252 at 7.

23             To achieve its goals, Congress introduced

24      jurisdictional elements to make Section 1752's prohibited

25      activities federal offenses so that the Secret Service had
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 1      authority to prevent those activities.

 2             Judge Cooper and I diverge because I cannot agree

 3      that the 2006 amendments to Section 1752 converted the

 4      jurisdictional requirements of the statute's earlier

 5      version into substantive requirements.    The conference

 6      report accompanying those amendments refers to expanding

 7      Section 1752, not limiting it by rewriting its

 8      jurisdictional provisions into substantive elements

 9      subject to a mens rea requirement.

10             Judge Cooper believes that when Congress redrafted

11      the statute to double the maximum penalty from six months

12      to one year, it reconceptualized Section 1752 and created

13      a different sort of federal crime.   And I'm quoting from

14      Groseclose at 18.

15             However, I agree with the government and with Judge

16      Howell that Feola instructs that the increased penalties

17      are not indicative of congressional intent.      As Judge

18      Howell explained, Feola did not consider the statutory

19      penalty structure when determining that Section 111's

20      federal officer element was jurisdictional.

21             To the contrary, Feola's holding was critiqued in

22      dissent for that reason.

23             Moreover, when Congress amended the statute to move

24      the jurisdictional requirements to new subsection (c)(1),

25      it did so to correct and simplify the drafting of Section
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 1      1752.

 2              I refer now to Federal Restricted Buildings and

 3      Grounds Improvement Act of 2011, which is at Public Law

 4      112-98.

 5              The House judiciary committee report accompanying

 6      that act stated the act provides increased protection to

 7      the President of the United States, the first family, the

 8      Vice President of the United States, and other Secret

 9      Service protectees.

10              There is nothing in the committee report indicating

11      that Congress sought a wholesale change to the statute

12      rather than its stated objective of amplifying the

13      drafting of Section 1752.    To the contrary, it again

14      sought to increase protections for protectees.

15              For all of these reasons, I find that requiring

16      proof of knowledge of the reason for the restricted area

17      would run counter to Congress's purpose in enacting a

18      statute designed to safeguard the president and other

19      Secret Service protectees.

20              And I am citing here United States versus Griffin,

21      549 F.Supp 3rd 49 at 57.

22              Because Mr. Nester's preferred construction would

23      lead to the illogical result that a statute designed to

24      enhance protections for protectees would, instead,

25      undermine their security by requiring some amount of
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 1      publication of protectees' identities, movements, and

 2      whereabouts, I do not believe that Congress intended that

 3      outcome.

 4             I note that this issue is currently raised before

 5      the circuit in United States versus Griffin.

 6             In the alternative and in the event the protectee

 7      requirement is not found to be jurisdictional, I

 8      nonetheless hold that Section 1752 does not require a

 9      defendant to know why an area is restricted.           Whether a

10      criminal statute requires the government to prove that the

11      defendant acted knowingly is a question of congressional

12      intent.

13             For the reasons stated above, I cite to that

14      proposition, Rehaif, R-E-H-A-I-F, 139 Supreme Court

15      Reporter at 2195.

16             For the reasons I stated previously, Congress made

17      its intent to provide the fullest protection possible for

18      Secret Service protectees clear.

19             Because I believe Mr. Nester's reading runs

20      contrary to the contextual and historical indicia of

21      Congress's intent, I deny the defense's motion for an

22      instruction that Section 1752 requires proof that he knew

23      both that he was in an area that was posted, cordoned off,

24      or otherwise restricted and that he also knew that the

25      president or other person protected by the Secret Service
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 1      was or would be temporarily visiting the Capitol.

 2             This is all -- the Court of Appeals is very busy,

 3      as are we, clarifying an area of law and a series of

 4      statutes that obviously have not previously been the

 5      subject of much litigation.      It's one of these areas in

 6      which, I guess, if I'm wrong, we will find out soon

 7      enough.

 8             All right.    Are we ready for the jury?

 9             THE COURTROOM DEPUTY:      Yes, Your Honor.

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                           C E R T I F I C A T E

                 I hereby certify that the foregoing is an accurate

        transcription of the proceedings in the above-entitled

        matter.




        3/5/24                   s/ Tammy Nestor
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                                 Official Court Reporter
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